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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION

 QUINCY JACK                                           CIVIL ACTION NO. 6:19-cv-00338

 VERSUS                                                JUDGE MICHAEL J. JUNEAU

 K.P. GIBSON, ET AL.                                   MAG. JUDGE PATRICK J. HANNA

                                 STIPULATION OF DISMISSAL

        NOW INTO COURT, through undersigned counsel, come all remaining parties to this

 litigation, who, Pursuant to Fed. R. Civ.P 41(a)(1)(A)(ii), stipulate to the dismissal of the instant

 matter WITH PREJUDICE.

        WHEREFORE, the parties pray that an order of dismissal be entered consistent with this

 stipulation dismissing the instant suit with prejudice.

 Respectfully submitted by:
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                                  CERTIFICATE OF SERVICE

        I do hereby certify that on this 9th day of August, 2021, a copy of the foregoing was filed

 electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent

 by operation of the court’s electronic filing system. I also certify that a copy of the foregoing will

 be sent to all non-CM/ECF participants by United States Mail, properly addressed and postage

 prepaid.


                                                /s/Ronald S. Bryant
